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 6                                   UNITED STATES DISTRICT COURT

 7                                             DISTRICT OF NEVADA

 8                                                   *****

 9   JULIE SIKORSKI, et al.,                          )
                                                      )
10                               Plaintiffs,          )       3:06-cv-00696-LRH (VPC)
                                                      )
11   v.                                               )
                                                      )       ORDER
12   GLEN WHORTON, et al.,                            )
                                                      )
13                               Defendants.          )
                                                      )
14

15                The Court has considered the Report and Recommendation of U.S. Magistrate Judge

16   Valerie P. Cooke (#911) entered on April 30, 2009, in which the Magistrate Judge recommends that

17   the Plaintiffs’ Motion for Partial Summary Judgment (#77) be denied and Defendants’ Motion for

18   Summary Judgment (#78) be granted as to all counts. No objections were filed. The Court has

19   considered the pleadings and memoranda of the parties and other relevant matters of record and has

20   made a review and determination in accordance with the requirements of 28 U.S.C. § 636 and

21   applicable case law, and good cause appearing, the court hereby

22   ///

23   ///

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26          1
                Refers to court’s docket number.
     Case 3:06-cv-00696-LRH-VPC            Document 92       Filed 05/29/09    Page 2 of 2




 1              ADOPTS AND ACCEPTS the Report and Recommendation of the United States

 2   Magistrate Judge (#91); therefore, Plaintiffs’ Motion for Partial Summary Judgment (#77) is DENIED

 3   and Defendants’ Motion for Summary Judgment (#78) is GRANTED as to all counts.

 4              IT IS SO ORDERED.

 5              DATED this 29th day of May, 2009.

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                                                    LARRY R. HICKS
 9                                                  UNITED STATES DISTRICT JUDGE

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